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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                Case No.: 1:21-cv-23618-JLK/Becerra

 MURIELLE JEUNE,

         Plaintiff,

 v.

 HUNTER WARFIELD, INC.,

       Defendant.
 _________________________________________/

      ORDER GRANTING MOTION FOR LEAVE TO PROCEED IN FORMA PAUPERIS

         THIS CAUSE came before the Court upon Plaintiff Murielle Jeune’s Motion for Leave to

 Proceed In Forma Pauperis. ECF No. [3]. The Honorable James Lawrence King, Senior United

 States District Judge, referred this matter to the undersigned Magistrate Judge. ECF No. [4].

         In order to determine whether a party is indigent and should not be required to pay fees and

 costs, “the only determination to be made by the court . . . is whether the statements in the affidavit

 satisfy the requirement of poverty.” Martinez v. Kristi Kleaners, Inc., 364 F.3d 1305, 1307 (11th

 Cir. 2004) (internal quotations and citation omitted). If a party demonstrates that she is not able

 to pay for court fees and costs while supporting herself and her dependents, the request to proceed

 in forma pauperis should be granted. Id. There is no specific guidance regarding an income

 threshold to determine indigence for plaintiffs in federal civil cases. In federal bankruptcy cases,

 however, 28 U.S.C. § 1930(f)(1) provides that fees may be waived if an individual’s income is less

 than 150% of the federal poverty guideline. In addition, the undersigned notes that Section 57.082,

 Florida Statutes, provides specific guidance regarding the determination of indigency for persons

 filing lawsuits in Florida state courts. Pursuant to that statute, a person is indigent if their income



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 is equal to or below 200% of the federal poverty guidelines. § 57.082 (2)(a)(1), Fla. Stat. (2012).

 The 2021 Department of Health and Human Services’ Poverty Guidelines for a single person

 household is $12,880.00. 86 Fed. Reg. 7732, 7733 (Feb. 1, 2021).

        Plaintiff has submitted an affidavit in support of her Motion for Leave to Proceed In Forma

 Pauperis. ECF No. [3]. Plaintiff states that she is currently employed by “ABC Opus Services,

 Inc.” Id. at 1. She attests that she earns approximately $2,240.00 per month in gross income or

 $1,931.00 in take-home pay. Id. Plaintiff notes that she does not receive income from any other

 sources and does not have any dependents. Id. at 1–2. Plaintiff asserts that she does not have any

 cash in any bank account. Id. at 2. Furthermore, Plaintiff states that she pays $1,100.00 per month

 in rent, $268.91 per month for her vehicle lease, and that her expenses for food and utilities “vary

 each month.” Id. Finally, Plaintiff states that she owes $6,500.00 in medical bills. Id.

        In sum, Plaintiff earns approximately $23,172 per year in take-home pay. Plaintiff’s

 expenses amount to at least $16,426.92 per year, not including food and utilities. Thus, given the

 above guidelines, the undersigned finds that Plaintiff is indigent for purposes of proceeding in this

 case. See Rodriguez v. Saul, No. 20-CV-62489, 2020 WL 8475182, at *1 (S.D. Fla. Dec. 7, 2020)

 (granting a motion to proceed in forma pauperis despite the fact that the plaintiff’s income

 exceeded the poverty guidelines given her overall financial situation). Reviewing the totality of

 Plaintiff’s circumstances, the undersigned finds that the payment of the filing fees and expected

 costs would deprive her of the ability to support herself.

        Accordingly, it is hereby

        ORDERED AND ADJUDGED that Plaintiff’s Motion to Proceed In Forma Pauperis,

 ECF No. [3], is GRANTED. It is further




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        ORDERED AND ADJUDGED that on or before November 2, 2021, Plaintiff shall

 prepare and file a proposed summons to be issued by the Clerk of the Court and served by the U.S.

 Marshal.

        DONE AND ORDERED in Chambers at Miami, Florida, on October 19, 2021.



                                             _________________________
                                             JACQUELINE BECERRA
                                             United States Magistrate Judge




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